842 F.2d 330
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Charles R. CRABLE, Plaintiff-Appellant,v.OHIO BELL TELEPHONE CO., Defendant-Appellee.
    No. 88-3205.
    United States Court of Appeals, Sixth Circuit.
    March 25, 1988.
    
      Before NATHANIEL R. JONES and RALPH B. GUY, Jr., Circuit Judges, and CONTIE, Senior Circuit Judge.
    
    ORDER
    
      1
      The plaintiff appeals from the district court's February 16, 1988 order reopening discovery in this employment discrimination action.
    
    
      2
      A judgment is final for purposes of 28 U.S.C. Sec. 1291 "when it terminates all issues presented in the litigation on the merits and leaves nothing to be done except enforce by execution what has been determined."   Donovan v. Hayden, Stone, Inc., 434 F.2d 619, 620 (6th Cir.1970) (per curiam).  Absent certification for an interlocutory appeal under 28 U.S.C. Sec. 1292(b) or Rule 54(b), Federal Rules of Civil Procedure, an order disposing of fewer than all the parties or claims in an action is nonappealable.   William B. Tanner Co. v. United States, 575 F.2d 101 (6th Cir.1978) (per curiam);  Oak Construction Co. v. Huron Cement Co., 475 F.2d 1220 (6th Cir.1978) (per curiam).  The district court's order of February 16, 1988 was neither final nor certified for interlocutory appeal.  Therefore,
    
    
      3
      It is ORDERED that this appeal be dismissed for lack of appellate jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    